Case 1:20-cr-20129-DMM Document 18 Entered on FLSD Docket 03/18/2020 Page 1 of 1

                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                   CASE NO. 20-20129-CR-MIDDLEBROOKS/McALILEY


  UNITED STATES OF AMERICA
  vs.
  HECTOR ALEJANDRO CABRERA FUENTES,
                               Defendant.
  __________________________________________/


        ORDER DESIGNATING CLASSIFIED INFORMATION SECURITY OFFICER

         The Court has been made aware that this case will involve the use and discovery of

  classified information. Federal law explicitly provides that federal courts must have security

  procedures for the handling of classified information. See Classified Information Procedures

  Act, Pub. L. 96-456 § 9, 94 Stat. 2025 (1980). Pursuant to Paragraph 2 of the Revised Security

  Procedures Established Pursuant to Pub L. 96-456, 94 Stat. 2025, by the Chief Justice of the

  United States for the Protection of Classified Information, the Court HEREBY APPOINTS Carli

  V. Rodriguez-Feo, Security Specialist, as the Classified Information Security Officer in the

  above-captioned matter.

         The Court FURTHER APPOINTS Debra M. Guerrero-Randall, Daniel O. Hartenstine,

  Matthew W. Mullery, Maura L. Peterson, Harry J. Rucker, and W. “Scooter” Slade, as

  Alternate Classified Information Security Officers in the above-captioned matter.

         DONE AND ORDERED in Miami, Florida this 18th day of March, 2020.




                                                             Donald M. Middlebrooks
                                                             United States District Judge
